Case 5:24-cr-00362-SLP Document 14-2 Filed 09/05/24 Pageiof1
Cour :

CRIMINAL COVERSHEET 4 P
U.S. District Court, Western District of Oklahoma 2 h 3 6 2

Petty [_| Misdemeanor [| Felony lV USAO No:: Case Nos
Charging Document: Indictment No. of Defendants: 3 Total No.of Counts:_11 Sealed: Y lv]
Forfeiture: Y[~] OCDETF:Y[~) McGirt: Y [| Warrant[| Summons{_] Notice[¥] NL]
N [V] NIV] N lv] Companion Case No. (if any):
DEFENDANT INFORMATION: By: DR
Name: Austin Gage Osborn SEP 05 2024
Alias(es): Address:
FBI No.:
DOB: 2001 SSN: XXX-XX-0800 Race: Hispanic Interpreter: Y [| N
Sex: M F [| Juvenile: Y [| N Language/Dialect: Spanish
PRIOR MAGISTRATE
DEFENDANT STATUS/RECOMMENDATION: JUDGE PROCEEDINGS:
[V] Not in Custody [| Detention Requested Complaint: Y N [I
. Unsecured
Type of Bond: — Magistrate Judge Case No.: MJ- 24-612-AMG
[ | In Custody at:
Inmate/Prisoner/Register No.: Previously Detained: Y [] N
ATTORNEY/AGENCY INFORMATION:
Public Defender Name: Bonnie Blumert AUSA: Drew E. Davis
Address:
[_] cya Panel Agent /Agency: ATF
[| Retained
Phone: Local Officer/Agency:
CHARGING DETAILS
Count(s) U.S.C. Citation(s) Offense(s) Charged Penalty
1 18 U.S.C. § 933(a)(1) Trafficking Firearms 18 U.S.C. § 933(b) - NMT 15 years imprisonment;
$250,000 fine; or both; NMT 3 years S/R; 100 S/A
ll 18 U.S.C. § 922(a)(1)(A) Engaging in the Business of Dealing 18 U.S.C. § 924(a)(1)(D) - NMT 5 years
18 U.S.C. § 923(a) Firearms Without a License imprisonment; $250,000 fine, or both; NMT 3 years
— S/R; $100 S/A
SEP 05 2024
Clerk, U.S. District Court
WEST.DIST.OF OKLA.

Signature of AUSA: 8/ DREW E. DAVIS Date: 09/05/2024

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